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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
MIKHAIL FRIDAM, GERMAN KHAN, )
PETR AVEN,                          )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )                No. 1:17-cv-2041-RJL
                                    )
BEAN LLC, et al.,                   )
                                    )
            Defendants.             )
____________________________________)

       NON-PARTY IGOR DANCHENKO’S MOTION TO STRIKE PLAINTIFFS’
         IMPROPER NOTICE OF FAILURE TO FILE TIMELY RESPONSE,
        AND TO HOLD PLAINTIFFS’ MOTION TO COMPEL IN ABEYANCE
            PENDING SERVICE ON NON-PARTY IGOR DANCHENKO

       Non-party Igor Danchenko (“Mr. Danchenko”), through counsel, hereby moves to (1)

strike Plaintiff’s improper Notice of Non-party Igor Danchenko’s Failure to File Timely Response,

ECF No. 119; and (2) hold Plaintiffs’ Motion to Compel, ECF No. 109, in abeyance until it has

been served on Mr. Danchenko as required by Fed. R. Civ. P. 5(b)(2) and Local Civ. R. 5.4(d)(1)

(“Motion to Strike and Hold in Abeyance”). Plaintiffs have not served Mr. Danchenko with the

Motion to Compel, so the Notice of Non-party Igor Danchenko’s Failure to File Timely Response

is misleading and should be stricken from the record. And, if Plaintiffs do serve Mr. Danchenko

with the Motion to Compel, he will then have fourteen days to respond. 1 See Local Civ. R. 7(b).

The Motion to Compel should be held in abeyance until it is fully briefed according to the schedule

provided by the federal and local rules of civil procedure.




1
 Counsel has indicated to Plaintiffs’ counsel that he is prepared to accept service of the Motion
now that he has entered his appearance.


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        Mr. Danchenko’s counsel brought this deficiency in service to Plaintiffs’ attention and

conferred with Plaintiffs’ counsel regarding appropriate relief, and Plaintiffs do not consent to the

relief requested herein.

        Pursuant to Local Civ. R. 7(a), Mr. Danchenko submits an accompanying Memorandum

of Points and Authorities in support of his Motion to Strike and Hold in Abeyance.



Date:   January 8, 2021                                       Respectfully submitted,


                                                              /s/ Mark E. Schamel     d
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2021, I caused a copy of the foregoing to be sent via the

Court’s CM/ECF system to all counsel of record who have entered an appearance in this case.




                                                             /s/ Mark E. Schamel        d
                                                             Mark E. Schamel
